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IN THE UNITED STATES DISTRICT COURT FT
FOR THE SOUTHERN DISTRICT OF INDIANA £, &
INDIANAPOLIS DIVISION ocr
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IND; LEp, “
Norman Peck, Case No. ANAPoLTS OFF; CE
Plaintiff, ND AN

v. COMPLAINT 1 18-cv-3143 SEB -TAB

28 USC §§ 1331 and 1343

IMC Credit Services, | Demand for Jury Trial
Defendant

 

COMPLAINT

Introduction
Norman Peck first received communication from collection agency IMC Credit Services (IMC)
on October 23, 2017. This debt-collection notification contained falsehoods. IMC then
repeatedly violated the Fair Debt Collection Practices Act (FDCPA). The FDCPA has provisions
for damages. Is IMC liable for such damages?
Jurisdiction and Venue

Peck has been a resident of Howard County, Indiana at all times relevant to this action. Peck
commences this COMPLAINT in the United States District Court for the Southern District of
Indiana, Indianapolis Division (CouRT). Federal Rules of Civil Procedure (FRCP), Rule 3.

The Court has in persona jurisdiction over the parties. IMC is subject to the Fair Debt
Collection Practices Act’s due process. IMC lacks an affirmative defense under FRCP 12(b)(2).

The CourrT has subject-matter jurisdiction over FDCPA claims. 15 USC §1692k(d). IMC
has no FRCP 12(b)(1) affirmative defense.

The Court has jurisdiction to grant Peck relief for his claims. The Court has original

jurisdiction over IMC’s violations of the laws of the United States. 28 USC §1331. The Court

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has original jurisdiction over this civil action to recover damages for injury to Peck for
deprivation of rights or privileges. 28 USC §1343(a)(1). This COMPLAINT satisfies the
jurisdictional requirements.’ Again, an affirmative defense under FRCP 12(b)(1) is inapposite.
The plaintiff has standing.” Peck clearly alleges facts demonstrating that he may invoke this
CourRT’s remedial powers.
This COMPLAINT survives an FRCP 12(b)(6) motion to dismiss. Rule 12(b)(6) does not
countenance dismissals based on a disbelief of the factual allegations.‘
This CouRT is the proper venue for this civil action. The plaintiff commences this action

in a district court appropriate for enforcing Debt Collection Practices liabilities within one year

from the date the violations occurred.5 Peck files this FRCP 7(a)(1) pleading by delivering it—

 

"Peck states claims for relief and a short and plain statement of the grounds for the COURT’s jurisdiction.
FRCP 8(a)(1). This COMPLAINT is timely filed. 15 USC §1692k(d). Peck brings statements of material
facts, which are identified by substantive law. Anderson y. Liberty Lobby, Inc., 477 U.S. 242 (1986) at
248. Justifiable inferences of genuine issues can be drawn from these facts. Id. at 255. These facts
demonstrate why relief can be granted upon each of Peck’s claims. Peck furnishes—at a bare minimum—
“a short and plain statement of the claim[s] showing that the pleader is entitled to relief’. FRCP 8(a)(2).
Peck brings specific facts, which give the defendant fair notice of what the claims are and the grounds
upon which they rest. Erickson v. Pardus, 551 U.S. 89 (2007) at 93. Peck’s grounds are “more than mere
labels and conclusions.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) at 555. This complaint
states claims to relief that are plausible on their face. Ashcroft v. Iqbal, 556 U.S. 662 (2009) at 663.

Standing can exist where “the right invaded is a legal right,—one of property, one arising out of
contract, one protected against tortious invasion, or one founded on a statute which confers a privilege”.
Spokeo v. Robins, 578U.S.___ (2016) (quoting Tennessee Elec. Power Co. v. TVA, 306 U.S. at 118-138
(1939)).

* Warth v. Seldin, 422 U.S. 490 (1975) at 490, 498-99: [T]o have standing a complainant must clearly
allege facts demonstrating that he is a proper party to invoke judicial resolution of the dispute and the
exercise of the court's remedial powers.” Peck has satisfied the three elements that are the “irreducible

constitutional minimum” of standing. Spokeo citing Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992)
at 560-561.

* Walker v. National Recovery, Inc., 200 F.3d 500 (7th Cir. 1999) quoting Neitzke v. Williams, 490 U.S.
319 (1989) at 327.

* FRCP 3. See also Public Law 95-109, 91 Stat. 874, Title VIII (Debt Collection Practices), §813(d):
An action to enforce any liability created by this title may be brought in any
appropriate United States district court without regard to the amount in

controversy, or in any other court of competent Jurisdiction, within one year
from the date on which the violation occurs.

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via USPS certified mail #70171070000059561571—10 the district clerk in a manner prescribed

by the Federal Rules of Civil Procedure.* Peck has no means of travel to the COURT and wishes

to avoid delay and ever-increasing mailing costs.’ He seeks authorization to submit his future

filings via electronic means.®
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° FRCP 5(d)(2)(A). Rule 5-1(a) of the Local Rules of the U.S. District Court, Southern District of Indiana
(L.R.). This pleading is a case-initiating document filed in paper form and satisfies all formatting and
non-electronic filing requirements necessary for the purpose of filing. L.R. 5-2(b), L.R. 5-1(b), and L.R.
5-1(d). Three copies of this COMPLAINT are being filed with the clerk. One copy is for the COURT record,
one is for the defendant, and one is for the plaintiff. Peck wants all 24 pages of his copy stamped to
indicate that this COMPLAINT is in the COURT record (e. §., “FILED”). Peck includes an envelope bearing
his name/address and sufficient postage for the return mailing of his copy.

7 FRCP 1: “to secure a just, speedy, and inexpensive determination of every action and proceeding.”

* FRCP 5(d)(3). L.R. 5-2(a). The plaintiff is currently pro se and thus needs authorization to file

electronically. L.R. 5-3(g). This filing includes Peck’s motion for such e-filing (with a proposed order per
L.R. 5-1(b)).

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Statement of Case
IMC is governed under the Consumer Credit Protection Act’ and Fair Debt Collection
Practices Act (FDCPA)."” Indiana abides by and adheres to these two federal laws. Courts of
competent jurisdiction—both state and federal—have drawn legal conclusions about the
FDCPA. Because these conclusions are in substantial agreement regarding the issues in this
lawsuit, Peck cites—with full faith and credit—the most salient caselaw.

The validity of a debt allegation isn’t in question. The Fair Debt Collection Practices Act
is designed to protect consumers from the unscrupulous antics of debt collectors.!! The primary
issues are (1) how the alleged debt was or was not validated and (2) the wrongful actions of IMC
in attempting to collect the alleged debt.

Each “violation of procedural right granted by statute” constitutes an injury in fact.”
The defendant committed wrongful actions that violated (a) the federal law under the FDCPA
and (b) Peck’s civil rights. Peck alleges more than just “bare procedural violation[s].”?

The bona fide error defense in §1692k(c) does not apply. The Supreme Court held that a

§1692k(c) defense does not apply to a debt collector’s mistaken interpretation of the FDCPA’s

 

” 15 USC Chapter 41, §§1601—1693r.

” Public Law 95-109, 91 Stat. 874, “Debt Collection Practices”, enacted September 20, 1977; codified in
the United States Code, Title 15, Chapter 41, Subchapter V, §§1692—1692p.

" Keele v. Wexler, 149 F.3d 589 (7th Cir. 1998).

” Spokeo v. Robins, 578 U.S. __» 136 S.Ct. at 1540 (2016). Peck is not required to allege any additional
harm beyond the ones Congress has identified; Peck seeks to vindicate his own private rights; Peck sues
based on the violations of his private rights that Congress created and need not allege actual harm beyond
the invasion of those private rights; IMC’s violations of Peck’s personal legal rights satisfy the injury-in-
fact requirement; Peck has standing; he shows multiple injuries to his particular rights (as distinguished
from the public’s interest in the administration of the law); Peck demonstrates definite and concrete
adverseness—rather than hypothetical, conjectural, speculative, or abstract injuries; Peck has a personal
stake in the outcome; Peck alleges particularized facts demonstrating that IMC’s practices harmed him
and that Peck would benefit personally in a tangible way with the COURT’s intervention. Spokeo; Stern vy.
Marshall, 564 U.S. 462, slip op. at 23 (citing Crowell v. Benson, 285 U.S. 22 (1932) at 50-51) (“cases of
private right, that is, of the liability of one individual to another under the law as defined.”).

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legal requirements.'* Furthermore, such a misinterpretation “cannot be 'not intentional"”.*

FDCPA violations are subject to civil penalties of up to $16,000 per day.’

Statement of Facts

In this short and plain statement Peck makes simple, concise, and direct allegations showing

that he is entitled to relief on his claims.”

1. IMC sent Peck a debt-collector notice in October 2017.

On October 23, 2017 Peck received an envelope containing an unsigned one-page document
dated October 17, 2017 that identified “ImMc CREDIT SERVICES”—but no individual—as the
sender. A barcode was visible through the envelope’s window.

The defendant’s letter begins, “The above referenced account has been placed with IMC
Credit Services for billing. Our records indicate the Balance Due remains unpaid and is your
responsibility.” MEDICAL ASSOCIATES LLC (hereafter “MEDICAL ASSOC.”) is listed as
“Creditor”.

The letter states that if Peck did not, within 30 days of receiving the letter, “dispute the
validity of this debt or any portion thereof, this office will assume this debt is valid.” The letter
also notified Peck that verification of the debt would be obtained and mailed to Peck if he timely

disputed the validity of the alleged debt.

 

' Spokeo, slip op. at 8-11.
4 Jerman, slip op. at 6-30.
'S Td. at 6-12.

1° See Jerman v. Carlisle, 559 U.S. 573 (2010) (“[V]iolations of the FDCPA are deemed to be unfair or
deceptive acts or practices under the Federal Trade Commission Act (FTC Act), 15 U. S.C. §41 et seq.”)

*T FRCP 8(a)(2) and (d)(1).

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2. Peck mailed IMC his timely dispute letter on November 13, 2017.
Peck timely disputed IMC’s debt allegations via USPS certified mail. The body of this letter in

its entirety follows:

On October 23 I received a letter that IMC Credit Services mailed to my
mail box. To the best of my knowledge, I’ve never heard of IMC Credit
Services before. Nor have I bought any merchandise from IMC Credit
Services or asked IMC Credit Services to perform any service for me.

If I understand your letter correctly—and please promptly correct any
misunderstandings I may have—IMC Credit Services is a debt collector
attempting to collect a debt for Medical Associates, LLC. I want to
resolve this matter quickly, but I suspect that error or fraud was involved
in what was placed with IMC Credit Services for billing. Therefore, I
insist that IMC Credit Services proves that I owe IMC Credit Services
this purported debt and why I owe it.

In order to prove the debt, I insist on receiving a signed and sworn
statement made before notary public under penalty of perjury by a
person having firsthand knowledge of the indebtedness and stating that
the reported indebtedness was a legal indebtedness under all applicable
state and federal laws, was not subsequently disputed, and swearing that
this purported debt is not now nor ever has been part of any tax write off
scheme nor insurance claim. Please be advised that I am requesting
validation and competent evidence that I had some contractual obligation
without consumer protection encumbrance whereby I incurred the
original claims associated with this purported debt. Your failure to
provide such information as I request in a timely manner may constitute
prima facie evidence of intent to defraud, intimidate, or coerce me and to
deprive me of my civil rights.

Please be advised that under the Fair Debt Collection Practices Act I am
authorized to demand that you only communicate with me via United
States Postal Service mail sent to P.O. Box 273, Kokomo, Indiana.
Please be advised that any contact made by IMC Credit Services with
any third-party firm or entity regarding this issue, absent compliance
with each and every part of this demand for validation, may constitute
violation of the Fair Debt Collection Practices Act and the Fair Credit
Reporting Act and may constitute grounds for civil or criminal action or
complaints being filed against you.

My requests are not arduous; we can quickly settle this matter in an
amicable fashion. I look forward to hearing from you.

Although Donna Martin signed for receipt on November 15, 2017, IMC has never responded to

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any of Peck’s dispute-letter requests."

3. IMC has procedural and substantive debt-collector obligations.

The purpose of the Fair Debt Collection Practices Act is to eliminate abusive debt-collector
practices.” To that end the U.S. Supreme Court has ruled that “the Act imposes various
procedural and substantive obligations on debt collectors”.”° The defendant is a “debt collector”,
both by statutory definition and its own admission.”!

The FDCPA definition of “creditor” uses the words “debt” and “credit”.”” The word “debt”
also has an FDCPA definition.” It uses the word “consumer”, which also has an FDCPA
definition.”4

IMC’s letter listed postal addresses in two states for the purpose of debt collection. The
defendant thus provided prima facie evidence of using “interstate commerce or the mails”.2°

Peck hasn’t seen any evidence that MEDICAL ASSOC. offered or extended him “credit”
creating a “debt” that he owed to a “creditor”, thereby making him a “consumer”. Peck didn’t
enter into a contract with either IMC or MEDICAL ASSOC. concerning the transaction of money,

property, insurance or services. He has no obligation to make payments to them.”6

 

'* Fg. “a signed and swom statement made before notary public under penalty of perjury by a person
having firsthand knowledge of the indebtedness”. [The plaintiff sees no FDCPA time limit for responding
to a dispute letter. He has been charitable, but must act within the statute of limitations. 15 USC
§1692k(d).]

” 15 USC §1692(e). There “is abundant evidence of the use of abusive, deceptive, and unfair debt
collection practices by many debt collectors.” 15 USC §1692(a).

» Sheriff v. Gillie, 136 S.Ct. 1594 (2016), slip op. at 1.

71 15 USC §1692a(6). IMC’s letters dated October 17, 2017 and September 24, 2018. [IMC also stated
that it is “A Collection Agency” in its October 17, 2017 letterhead. ]

” 15 USC §1692a(4). [Note: “credit” has no FDCPA definition. ]

3 15 USC §1692a(5).

4 15 USC §1692a(3).

5 15 USC §§1692(d) and 1692a(6).

© <The term ‘debt’ means any obligation or alleged obligation of a consumer to pay money arising out of

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4. Peck gives IMC fair warning of this lawsuit.
Peck sought to negotiate a settlement out of court. On September 17, 2018 he mailed a tort letter

to IMC—at P.O. Box 20636, Indianapolis, IN—in which he stated that he would entertain

reasonable offers to make him whole or—in the alternative—file this lawsuit.2’

>. IMC declines settlement negotiations.

On September 28, 2018 the plaintiff received IMC’s response to his September 17 letter.
According to IMC’s corporate compliance officer, Noelle Ten Eyck, IMC declined Peck’s
preference—negotiating a settlement.”* Furthermore, she made clear that IMC is actively
engaged in debt collection against the plaintiff.” IMC’s collection efforts persist.”

Given the defendant’s failure to furnish any aspect of the dispute letter, Peck presumes that:

(1) IMC cannot prove its purported debt; (2) no one will sign a sworn statement before a notary

 

a transaction in which the money, property, insurance, or services which are the subject of the transaction
are primarily for personal, family, or household purposes, whether or not such obligation has been
reduced to judgment.” 15 USC §1692a(5).

?” Deck simultaneously mailed identical copies of this certified correspondence to IMC at 6955 Hillsdale
Court, Indianapolis. See Peck’s discussion of IMC’s multiple addresses on page 17, footnote 83.

8 Peck is grateful to IMC for the reference to “statutory damages”. He then looked into this phrase more
closely. (See page 20, “DAMAGES WHICH CAN BE AWARDED”) Peck is also grateful to learn the
names/titles of two IMC employees (i.e., Noelle Ten Eyck and Stacy Pauley. (Previously, Donna Martin
and Rebecca Adams printed their names on USPS 3811 forms, but they might not be IMC employees.)
Unfortunately, IMC misstated important facts, the biggest of which was: “The proper statutory validation
was provided”. Also, IMC’s recent production of a confusing “itemized bill” doesn’t satisfy Peck’s
dispute-letter demands.

” The following words appear at the bottom of the one-page letter: “THIS IS AN ATTEMPT TO
COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE.” [Compare with 15 USC §1692f(6).] Such §1692e(11) language is required in the “original
written communication” (i.e., IMC’s October 17, 2017 letter).

° Ms. Ten Eyck’s assertion—“Upon receipt of your dispute, our office ceased all communications on
your account”—-was nullified when she mailed her letter. It is also irrelevant. The debt-collection
prohibition under §1692c(c) doesn’t apply to this case. Peck didn’t notify IMC that he refused to pay a
debt. Additionally, Peck’s dispute letter clearly stated that he wanted all communications to be mailed to
him. Moreover, the defendant didn’t advise Peck that further debt-collector efforts were terminated.

Compare with 15 USC §§1692c(c)(1) and 16924(6).

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public; (3) Peck’s dispute wasn’t reported*’; (4) the purported debt was a tax write-off scheme
and/or insurance claim.*” Since the defendant has refused to furnish Peck’s demand for
validation, he presumes that IMC’s failure constitutes: (a) prima facie evidence of intent to
defraud, intimidate, or coerce me and to deprive me of my civil rights and (b) violation of the

Fair Debt Collection Practices Act and the Fair Credit Reporting Act.*3

Claims Upon Which Relief Can Be Granted

As the Supreme Court has held in the general context of consumer protection—“it does not seem
‘unfair to require that one who deliberately goes perilously close to an area of proscribed conduct
shall take the risk that he may cross the line.”*4 IMC repeatedly crossed lines proscribed by the
Fair Debt Collection Practices Act and is responsible for the consequences.

The FDCPA expressly, or by clear implication, grants rights of action and thus standing to
seek relief.** Peck submits the following claims. Each contains triable issues of material fact,
based on the plaintiff's current knowledge. Peck has reason to believe and does believe that the
discovery phase of this civil action will yield many more triable claims.*

The Seventh Circuit instructs its lower courts to view debt-collector letters through the

perspective of the “unsophisticated consumer” (i.e., the unsophisticated-consumer standard) and

 

9 See, e. g., 15 USC §§1681—-1681x (re: credit reporting agencies) and Peck’s dispute letter, above.

*? See the plaintiff's dispute letter, above.

* Tbid.

See Russell v. Equifax, 74 F.3d 30 (2nd Cir. 1996) (quoting FTC v. Colgate-Palmolive Co., 380 U.S.

374 (1965) at 393, 85 S.Ct. 1035 at 1047 quoting Boyce Motor Lines, Inc. v. United States, 342 U.S. 337
(1952) at 340, 72 S.Ct. 329 at 330-31).

*’ Warth v. Seldin, 422 U.S. 490 (1975) at 510.
% Sayles v. Advanced Recovery Systems, Inc. (5th Cir. 2017) #16-60640, slip op. at 4 (the 30-day
requirement of §809 “does not carry over to §807(8)”). Examples of additional triable claims are §807(8)

of P.L. 95-109 and the Fair Credit Reporting Act. Cf Peck’s dispute-letter reference to “Fair Credit
Reporting Act”.

 

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to then apply this standard to the claims of plaintiffs.>” Under 15 USC §1692e, ignorance is no

excuse, “even when false representation was unintentional.**

COUNT I - Violation of 15 USC §1692(8)”
Clearly visible through the envelope’s glassine window was “a barcode that, when scanned by
the appropriate reader, [would reveal the collection] account number.” A “debt collector
violates §1692f(8) by sending a collection letter in an envelope that displays the debtor’s bare
account number” or “(assumedly) offending barcode”."’ This barcode, when read or scanned,
“results in a display of a string of numbers, such as the account number of the alleged debts [that
IMC] assigned to [Peck] and/or a reference or registration code number.”*? The account, |
reference, or registration numbers exposed constitute personal identifying information and its
disclosure has the potential to cause harm to the consumer; the barcode visible through the
envelope’s glassine window is clearly a §1692f(8) symbol used to communicate with the alleged
debtor.

In pertinent part, Section 1692f(8) prohibits using any language or symbol, other than the debt

 

* Turner v. J.V.D.B & Associates, 330 F.3d 991 (7th Cir. 2003). See, e.g., 15 USC §§1692e and 1692f.

* Turner at 330 F.3d 997 (citing Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th Cir. 2000) at 472
citing Russell, 74 F.3d at 33).
° 15 USC §1692f(8):

: A debt collector may not use unfair or unconscionable means to collect or
attempt to collect any debt. Without limiting the general application of the
foregoing, the following conduct is a violation of this section: ... (8) Using any
language or symbol, other than the debt collector’s address, on any envelope
when communicating with a consumer by use of the mails or by telegram,
except that a debt collector may use his business name if such name does not
indicate that he is in the debt collection business.

* Daubert v. NRA Group LLC (3rd Cir. 2017) case #16-3629, slip op. at 3.
“' Id. at 16-17.

” Stever v. Harrison (D.N.J., 2017) case #16-298, slip op. at 2.

* Id. at 12.

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collector’s address, on—or seen within—any debt-collector envelope.“ Peck suffered a concrete,
injury-in-fact harm due to the possibility of disclosure of personal identifying numbers through
IMC’s barcode.** The overwhelming majority of courts have determined that FDCPA violations
under §1692e and §1692f give rise to concrete, substantive injuries sufficient to establish Article
Il standing. “In Nickelodeon, the [Third] Circuit explained that ‘unlawful disclosure of legally
protected information’ constituted 'a clear de facto injury.”*” The intangible harm that Congress
sought to remedy “has a close relationship to harm [i.e., invasion-of-privacy] that has
traditionally been regarded as providing a basis for a lawsuit in English or American courts”.®
The defendant’s disclosure of any language or symbol “implicates core privacy concerns.”””

Peck alleges “a sufficiently ‘particularized’ injury”’ and seeks judgment in his favor for IMC’s

barcode violation.

COUNT II - Violation of 15 USC §1692g(a)(4)"

IMC’s letter stated: “If you notify this office in writing within 30 days from receiving this notice

 

“4 Id. at 2 [emphasis in original].

“ Id. at 7.

“ Id. at 7, fn.3 (citing Bock v. Pressler, 2017 WL 2304643 (D.N.J. 201 7)).

*” Stever at 8 (quoting In re Nickelodeon Consumer Privacy Litig., 827 F.3d 262 (3d Cir. 2016)).
* Stever at 9 (quoting Spokeo v. Robins, 136 S.Ct. at 1549).

” Stever at 10 (citing Douglass v. Convergent Outsourcing, 765 F.3d 299 (3d Cir. 2014) at 304).

°° Stever at 11 (citing Fuentes v. AR Resources, Inc., 2017 WL 1197814 at *5).

** 15 USC §1692g(a)(4) (Validation of debts):
Within five days after the initial communication with a consumer in connection
with the collection of any debt, a debt collector shall, [], send the consumer a
written notice containing—... (4) a statement that if the consumer notifies the
debt collector in writing within the thirty-day period that the debt, or any
portion thereof, is disputed, the debt collector will obtain verification of the
debt or a copy of a judgment against the consumer and a copy of such
verification or judgment will be mailed to the consumer by the debt collector.
[See §1692g(a)(4) notes referencing “Pub. L. 90-321, title VI, §809, as added
Pub. L. 95-109, Sept. 20, 1977, 91 Stat. 879; amended Pub. L. 109-351, title
VIII, §802, Oct. 13, 2006, 120 Stat. 2006.”]

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that you dispute the validity of this debt or any portion thereof, this office will: obtain the
verification of the debt ... and mail you a copy of such ... verification.”

Despite receiving Peck’s timely written response on November 15 , 2017—i.e., within the
proscribed 30-day period—which notified the defendant that Peck disputed the alleged debt and
insisted on a signed and sworn verification of the alleged debt, Peck received no sworn
verification from IMC. Peck followed IMC’s instructions but got nothing. He is confused by
IMC’s intentions on October 17, 2017. The defendant’s collection notice confused Peck about
his verification rights and violated the clear language of the Fair Debt Collection Practices Act.*”

A debt collector whose dunning letter suggests urgency must meet on the merits a contention
that the letter would confuse an unsophisticated reader.®? Peck seeks judgment in his favor for

IMC’s failure to validate the alleged debt.

COUNT III — Violation of 15 USC §1692e(2)(A)™4

IMC used “false, deceptive, or misleading representation or means in connection with the

collection of any debt” when it misrepresented the character, amount, or legal status of a non-

existent debt.*

 

* 15 USC §1692g(a)(4): “verification of the debt will [emphasis added] be mailed”.

> Walker v. National Recovery, 200 F.3d 500.

** 15 USC §1692e(2)(A):
A debt collector may not use any false, deceptive, or misleading representation
or means in connection with the collection of any debt. Without limiting the
general application of the foregoing, the following conduct is a violation of this

section: ... (2) The false representation of—(A) the character, amount, or legal
status of any debt; ...

*§ See Jerman v. Carlisle, 559 U.S. 573 (2010) (“Among other things, the Act prohibits debt collectors
from making false representations as to a debt’s character, amount, or legal status, §1692e(2)(A).”)

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A debt collection practice may violate the FDCPA even if it does not fall within any of the
subsections, and a single violation of section 1692e is sufficient to establish civil liability under
the FDCPA.*

“An FDCPA claim has nothing to do with whether the underlying debt is valid. An FDCPA
claim concerns the method of collecting the debt. It does not arise out of the transaction creating
the debt”.*” “The plain language of the FDCPA prohibits not only threatening to take actions
that the collector cannot take, but also the use of any false, deceptive, or misleading
representation, including those about the character or legal status of any debt.”** Peck seeks

judgment in his favor for IMC’s violation of 15 USC §1692e(2)(A).

COUNT IV — Violation of 15 USC §1692(a)(5)°
IMC’s letters identify MEDICAL ASSOC. only as “Creditor” and “client”. They do not identify
the original creditor. This is deceptive.*!

Peck didn’t agree to transact money, property, insurance or services with MEDICAL ASSOC.

He believes IMC is not alleging that MEDICAL ASSOC. is the original creditor. Peck’s dispute

 

*° Bentley v. Great Lakes Collection Bureau, 6 F.3d 60 (2d Cir. 1993) (citing Clomon v. Jackson, 988
F.2d 1314 (2d Cir. 1993) at 1318).

*” Spears v. Brennan (Ind. App. Ct. 2001) (citing Azar v. Hayter, 874 F. Supp. 1314 (N.D. Fla. 1995) at
1317).

“8 McMahon v. LVNC F unding (case #12-3504) and Delgado vs. Capital Mgmt Services (7th Cir. 2014)
case #13-2030, slip op. at 19.
° 15 USC §1692g(a)(5):

Within five days after the initial communication with a consumer in connection

with the collection of any debt, a debt collector shall, unless the following

information is contained in the initial communication or the consumer has paid

the debt, send the consumer a written notice containing— ... (5) a statement

that, upon the consumer’s written request within the thirty-day period, the debt

collector will provide the consumer with the name and address of the original

creditor, if different from the current creditor.

 IMC’s initial correspondence (“Creditor”). Ms. Ten Eyck’s letter (“client”).
*' Gammon v. GC Services Limited Partnership, 27 F.3d 1254 (7th Cir. 1994) at 1257.

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letter specifically requested information about the original creditor.’ Since IMC failed to
distinguish between “creditor” and “original creditor”, the latter’s name and address remain
unknown to the plaintiff. Peck’s continuing confusion is a question of fact, not of law or logic.

Peck seeks judgment in his favor for IMC’s failure to notify under §1692g(a)(5).

COUNT V - Violation of 15 USC §1692e(10)™

The type of correspondence that IMC mailed to Peck—commonly referred to as a collection
notice-—“gives the consumer the information necessary to challenge the debt allegedly owed
before making payment to the independent collection agency.”™ In writing to Peck, IMC
attempted to obtain credit-card information.

A collection notice is deceptive when it can reasonably be read to have two or more different
meanings, one of which is inaccurate. The terminology in IMC’s collection notice is reasonably
susceptible to an inaccurate reading. Its vagueness or uncertainty will not prevent a conclusion of
deception under 15 USC §1692e(10).®” To an unsophisticated person, a communication that

combines notification of both prompt payment and the 30-day verification period may produce

 

* See Peck’s dispute letter: “I am requesting validation and competent evidence that ... I incurred the
original claims associated with this purported debt.”

® A debt-collection “letter’s actual effect on unsophisticated consumers [should not be disregarded].
Whether a given message is confusing is, we held in Gammon, Bartlett, and Johnson, a question of fact,
not of law or logic.” Walker v. National Recovery, 200 F.3d 500 (7th Cir. 1999).
15 USC §1692e(10):

A debt collector may not use any false, deceptive, or misleading representation

or means in connection with the collection of any debt. Without limiting the

general application of the foregoing, the following conduct is a violation of this

section: ... (10) The use of any false representation or deceptive means to
collect or attempt to collect any debt or to obtain information conceming a
consumer.

* Russell v. Equifax, 74 F.3d 30.

* “WE ACCEPT MASTERCARD AND VISA”, “PLEASE PAY IN FULL”, “If you wish to make your
payment via credit card, please complete the information below and return”.

°” Russell (citing Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993) at 1319 and Pipiles v. Credit Bureau

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befuddlement.®

It is a “well-settled principle that the FDCPA is a strict liability statute”; Peck “need not show
intentional conduct by the debt collector to be entitled to damages.” The defendant failed to
validate and falsely represented an alleged debt and used deceptive means to obtain very private

information. Peck seeks judgment in his favor for IMC’s violation of §1692e(10).

COUNT VI - Violation of 15 USC §1692g(b)”
IMC’s letter included a section (“IMPORTANT CONSUMER NOTICE”) that included standard
Fair Debt Collection Practices Act language (e.g., “Unless you notify this office within 30 days
after receiving this notice that you dispute the validity of this [alleged] debt...”). The defendant,
however, overshadowed this 30-days-to-dispute notice language with language to the contrary.”!
When a notice contains language that “overshadows or contradicts” other language informing a
consumer of her rights, it violates the Act.” The FDCPA leaves no room for deviation in the
language of the notice.”

The key consideration is that the unsophisticated consumer is to be protected against

confusion, whatever form it takes.” A notice is overshadowing or contradictory if it would make

 

of Lockport, Inc., 886 F.2d 22 (2d Cir. 1989) at 25).
% Walker (citing Gammon v. GC Services Limited Partnership, 27 F.3d 1254 (7th Cir. 1994) at 1257).
® Spears v. Brennan (Ind. App. Ct. 2001) citing Russell, 74 F.3d at 33 and Bentley, 6 F.3d at 63.
15 USC §1692g(b):
Any collection activities and communication during the 30-day period may not

overshadow or be inconsistent with the disclosure of the consumer’s right to
dispute the debt

"| F.g., “pay over the telephone at 317-829-0076”, “To pay online visit us at Wwww.imcpayment.com”.
When Peck read these words, his 30-day period had just begun (i.e., October 23, 2017).

” Graziano v. Harrison, 950 F.2d 107 (3d Cir. 1991) at 111 (“the juxtaposition of two inconsistent
statements” renders the notice invalid under Sec. 1692g).

"3 Jang v. A.M. Miller & Assoc., 122 F.3d 480 (7th Cir. 1997) at 482.
"4 Marshall-Mosby v. Corporate Receivables, Inc., 205 F.3d 323 (7th Cir. 2000) at 326.

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the least sophisticated consumer uncertain of his or her rights. It is not enough for a debt
collection agency simply to include the proper debt validation notice in a mailing to a consumer;
Congress intended that such notice be clearly conveyed.’> The language used by IMC
overshadows and is “inconsistent with the disclosure of the consumer’s right to dispute the

» debt”.”© Peck seeks judgment in his favor for IMC’s overshadowing and inconsistency.

COUNT VII - Violation of 15 USC §1692e(14)”

On August 30, 2018 Peck was searching the NMLS Consumer Access website for “IMC Credit
Services” and found other names listed under NMLS ID# 1137738.”8 Undoubtedly even more
names existed, but the NMLS website didn’t allow them to be viewed and IMC hasn’t notified
Peck all of its pseudonyms.

The Supreme Court recently noted: “Although the FDCPA does not say what a ‘true name’ is,
its import is straightforward: A debt collector may not lie about his institutional affiliation.”””
The Seventh Circuit declared: “Notices sent to debtors must not confuse them about the
verification rights established by the Fair Debt Collection Practices Act”.®° Additionally, a debt

collector’s violation of 15 USC §1692e “is objective, turning not on the question of what the

 

78 Swanson vy. Southern Or. Credit Serv., Inc., 869 F.2d 1222 (9th Cir. 1988) at 1225.

7° 15 USC §1692g(b).

™ 15 USC §1692e(14):
A debt collector may not use any false, deceptive, or misleading representation
or means in connection with the collection of any debt. Without limiting the
general application of the foregoing, the following conduct is a violation of this
section: ... (14) The use of any business, company, or organization name other
than the true name of the debt collector’s business, company, or organization.

78 “IMC Credit Services, LLC, dba IMC Credit Services, DBA Medical Provider Accounting Service,
DBA [etc.]”.

” Sheriff, at slip op. 9 (quoting Gillie v. Law Office of Eric A. Jones, LLC, 785 F. 3d 1091 (6th Cir. 2015)
at 1115).

° Walker, 200 F.3d 500.

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debt collector knew but on whether the debt collector's communication would deceive or mislead
an unsophisticated, but reasonable, consumer.”®! Furthermore, the unsophisticated-consumer test
applies to §1692e and §1692f.” Peck, again, is confused.*? Who is “IMC Credit Services”?

Peck seeks judgment in his favor for the defendant’s deceptive and misleading representation

of the true name and address of its business, company, or organization.

COUNT VIII - Violation of 15 USC §1692(1)*4
Peck didn’t enter into a payment obligation concerning the transaction of money, property,
insurance or services—or make any contractual agreements—with IMC or MEDICAL Assoc. Nor
has the defendant provided validation and evidence of such. Even if one existed, the “contract in
no way provides sufficient verification of the debt.”**

Peck doesn’t know if the defendant has sought or will seek “any interest, fee, charge, or
expense incidental to the principal obligation”.®° Nor does he know about IMC’s plans for

attorney contingent fees for debt collection services.®’ “A contingent fee, even between an

 

* Turner v. J.V.D.B & Assoc., 330 F.3d 991 (7th Cir. 2003) (citing Gammon).
82
Id.

*§ Peck is also confused about IMC’s address. Since October 17, 2017 Peck has seen four different
addresses: PO Box 1280, Oaks, PA 19456-1280; PO Box 20636, Indianapolis, IN 46220-0636; 6955
Hillsdale Court, Indianapolis, IN 46250”; and (much more recently) 8085 Knue Road, Indianapolis, IN
46250. Such multiplicity is misleading.
*4 15 USC §1692f(1):
A debt collector may not use unfair or unconscionable means to collect or
attempt to collect any debt. Without limiting the general application of the
foregoing, the following conduct is a violation of this section: (1) The
collection of any amount (including any interest, fee, charge, or expense
incidental to the principal obligation) unless such amount is expressly
authorized by the agreement creating the debt or permitted by law.
8s Spears v. Brennan (IN App. Ct. 2001).
* 15 USC §1692(f)(1).

97 Spears.

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attorney and his client, is not enforceable unless it is founded upon a prior agreement.”*? “A
contingent fee agreement in a collection case that is the product of a bargain between the
attorney and client is presumed to be reasonable as between them], but] it is an entirely different
matter when the fee is added to the judgment against the debtor. In that instance the debtor has a
direct pecuniary interest in how the fee is determined.”®? “Thus, without other objective
evidence of reasonableness, a contingent fee cannot be added to a judgment against a third
party.””” Even if Peck were a debtor owing a valid obligation to MEDICAL ASSOC. and could
have disputed additional charges like attorney fees, he was not put on notice that he could
dispute these additional attorney charges.”! Although he has no knowledge of IMC’s intentions
regarding attorney fees, Peck doesn’t need to show the company’s intentional conduct under the
Act to be entitled to damages.”” Peck seeks judgment in his favor for IMC’s unfair or

unconscionable means to attempt to collect any (alleged) debt not expressly authorized by the

agreement creating such debt.

COUNT IX — Violation of 15 USC §§1692d, 1692£(6), and 1692k(a)(3)

Violations of §1692d are not limited to any particular form of harassment or abuse. Compare

with §1692f(6), which speaks more specifically to other unconscionable means to collect alleged

 

8 Spears (citing Waxman Indus., Inc. v. Trustco Dev. Co., 455 N.E.2d 376 (Ind. Ct. App. 1983) at 381).
® Valparaiso Tech. Inst. v. Porter Co. T; r., 676 N.E.2d 416 (Ind.App.Ct. 1997) at 420 citing Waxman.

* Valparaiso at 420-21.

°! Spears (citing Baker v. G.C. Servs. Corp., 677 F.2d 775 (9th Cir. 1982) at 778 re: “additional charges”).
” Russell, 74 F.3d 30.

°3 15 USC §1692d:
A debt collector may not engage in any conduct the natural consequence of
which is to harass, oppress, or abuse any person in connection with the
collection of a debt. Without limiting the general application of the foregoing,
the following conduct is a violation of this section: ...

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debts.”

By mailing the October 2017 letter, IMC took a nonjudicial action to effect dispossession of
the plaintiffs property.* The plaintiff believed IMC sought to collect money and information
from him.”° His belief had a “natural consequence”.”’ He believed IMC had a “present intention
to take possession of [this] property”.

Peck began researching a subject unfamiliar to him—debt collection. Although its
complexities were oppressive on his time, he persevered because IMC’s letter affected “the
plaintiff in a personal and individual way”.”? Peck suffered an “injury in fact”!

Any debt collector who fails to comply with any provision of this subchapter with respect to
any person is liable to such person in an amount equal to the sum of any actual damage sustained

by such person as a result of such failure.'°' Peck seeks judgment in his favor for the

defendant’s violations of 15 USC §§1692d and 1692£(6)(B).

 

415 USC §1692£(6):

[T]he following conduct is a violation of this section: ... (6) Taking or
threatening to take any nonjudicial action to effect dispossession or disablement
of property if—(A) there is no present right to possession of the property
claimed as collateral through an enforceable security interest; (B) there is no
present intention to take possession of the property; or ...

5 15 USC §1692f(6)\(B).

** “This is an attempt to collect a debt and any information obtained will be used for that purpose.”

*7 15 USC §1692d.

8 15 USC §1692f(6)\(B).

” Lujan v. Defenders of Wildlife, 504 U.S. at 560, n. 1.

1 <A plaintiff [must demonstrate] (1) suffered an injury in fact, (2) that is fairly traceable to the
challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial
decision.” Spokeo, slip op. at 5-6. “As relevant here, the injury-in-fact requirement requires a plaintiff to
show that he or she suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized'

and ‘actual or imminent, not conjectural or hypothetical.” Jbid. at 7~11 (citing Lujan, 504 U.S. at 560).
Noelle Ten Eyck’s recent “collect a debt” language confirms Peck’s reason for concern.

' Quoting 15 USC §1692k(a)(1).

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Damages Which Can Be Awarded

Statutory damages aren’t listed at 15 USC §1692k(a). In fact, the Fair Debt Collection Practices
Act doesn’t mention “statutory damages”. In fact, it doesn’t even use the word “statutory”.
Perhaps the “statutory provision in question implies a right of action in the plaintiff." The
2010 Jerman case merged statutory damages with “additional damages [that are] subject to a
statutory cap of $1,000 for individual actions”. Peck proceeds from this legal foundation.

“Congress has determined that the public as a whole has an interest in the vindication of the
statutory rights.”"* The defendant is liable for its violations of the Fair Debt Collection
Practices Act.'°° IMC’s interpretations of its “legal requirements of the FDCPA cannot be ‘not
intentional’ under 15 USC §1692k(c).”"” It is a fair inference that Congress chose to permit
injured consumers to recover actual damages, costs, fees, and modest statutory damages for
“intentional” conduct, including violations resulting from mistaken interpretation of the

FDCPA.!%

The following are damages which can be awarded in this case under the FDCPA.!””

 

' The same is true of the Fair Credit Reporting Act.

"> Quoting Warth, 422 U.S. 501 [emphasis added].

14 Jerman, (“...statutory ‘additional damages.’ §1692k(a).”) “A court may also award ‘additional
damages,’ subject to a statutory cap of $1,000 for individual actions”. Id.

"S Tolentino v. Friedman, 46 F.3d 645 (7th Cir. 1995) (citing Graziano v. Harrison, 950 F.2d 107, 113
(3d Cir. 1991) citing City of Riverside v. Rivera, 477 U.S. 561, 106 S. Ct. 2686, 91 L. Ed. 2d 466 (1986)).
°° 15 USC §1692k(a). Sheriff v. Gillie, 136 S.Ct. 1594 (2016), slip op. at 3: “A debt collector who
violates the Act is liable for both actual and statutory damages. §1692k(a).”

7 Quoting Jerman, slip op. at 6-12.

Quoting Jerman. The FDCPA’s statutory damages are limited to a mere $1,000.

® See U.S. Supreme Court in Spokeo v. Robins (2016),
The Act also provides that “[a]ny person who willfully fails to comply with any
requirement [of the Act] with respect to any [individual] is liable to that
[individual]” for, among other things, either “actual damages” or statutory
damages of $100 to $1,000 per violation, costs of the action and attorney’s fees,

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1. Actual damages.''? Peck has—thus far—spent 591.5 hours dealing with IMC’s illegal
activities. He charges $25 per hour for performing legal research and drafting legal
papers. (The actual damages are therefore $14,787.50.)

2. Costs-of-the-action damages. The plaintiff has shouldered $20.84 in “the cost of the

lll

action”’"’ (e.g., travel, USPS postage/certification) associated with this action. Also, the

COURT may require the payment of a filing fee.
3. Attorney-fees damages. An award of attorney’s fees is mandatory in the Seventh

Circuit!”

 

and possibly punitive damages.

and in Jerman v. Carlisle (2010),
The FDCPA is but one of many federal laws that Congress has enacted to
protect consumers. A number of these statutes authorize the filing of private
suits against those who use unfair or improper practices. See, e.g., 15 U. S. C.
§1692k (FDCPA); §1640 (Truth in Lending Act); §168in (Fair Credit
Reporting Act); [ ] Several of these provisions permit a successful plaintiff to
recover—in addition to actual damages—statutory damages, attorney’s fees and
costs, and in some cases punitive damages. E.g., 15 U. S. C. §1640(a)(2)
(statutory damages); §1640(a)(3) (attorney’s fees and costs); §1681n(a)(1)(B)
(statutory and punitive damages); §1681n(a)(1)(B)(3) (costs and attorney’s
fees); 49 U. S. C. §32710(a) (‘3 times the actual damages or $1,500, whichever
is greater’); §32710(b) (costs and attorney’s fees); 11 U. S. C. §526(c)\3)(A)
(costs and attorney’s fees).

and in the Seventh Circuit’s Keele v. Wexler (1998),
The complaint requested statutory damages as provided for under § 1692k of
the FDCPA, as well as actual damages, attorney’s fees, litigation expenses and
costs. * * * The FDCPA does not require proof of actual damages as a
precursor to the recovery of statutory damages. ... In other words, the Act is
blind when it comes to distinguishing between plaintiffs who have suffered
actual damages and those who have not. ... We must focus on the debt
collector’s misconduct.

4 See 15 USC §1692k(a)(1) and footnote 109, re: Spokeo, Jerman, and Keele (“actual damages”).

"* See 15 USC §1692k(a)(3). See also footnote 109 re: Spokeo, Jerman, and Keele (“costs”).

'? See footnote 109 re: Spokeo, Jerman, and Keele (“attorney’s fees”). See also Tolentino,
The FDCPA provides for an award of costs and attorney’s fees [quotation
omitted] 15 USC §1692k(a). The statutory language makes an award of fees
mandatory. “Because the FDCPA was violated * * * the statute requires the
award of costs and a reasonable attorney’s fee * * * Pipiles, 886 F.2d at 28.
The U.S. Supreme Court specifically mentioned in Jerman (majority opinion, footnote 16) this part of
Tolentino—without ruling on it. N.B.: The plaintiff has not yet hired an attorney on a contingent-fee

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Additional damages.’ Peck seeks an aliquot part of $1,000 for each FDCPA violation
(see COUNTS I through IX, above) that the Court finds.

Punitive damages.’ The defendant has caused the plaintiff a lot of needless distress.
Peck seeks punitive damages three times (i.e., $47,425.02) the total amount of actual,

costs-of-the-action, attorney-fee, and additional damages ($15,808.34).

Prayer (Relief Wanted)

WHEREFORE, the plaintiff prays for:

actual damages in the amount of $14,787.50 (thus far);
costs-of-the-action damages ( $20.84 just in postage costs thus far);
attorney-fee damages (in their final amount);

additional damages in the amount of $1,000; and

punitive damages in the amount three times as much as the accumulated total of the

actual, costs-of-the-action, attorney-fee, and additional damages.

 

basis.

"3 See 15 USC §1692k(a)(2) and Azar, 874 F. Supp. at 1317 (citing Harper v. Better Business Services,
Inc., 961 F.2d 1561 (11th Cir. 1992) at 1563).

"4 See footnote 109 re: Spokeo, Jerman, and Keele (“punitive damages”). These opinions refer
specifically to the Fair Credit Reporting Act, which will be an important discovery issue in this case.

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Ww ee
Notary’s Certificate
STATE OF voiana )
) SS:
COUNTY OF \owaeo )

Subscribed and sworn to before me this ot day of Ocobae , 201

My Commission Expires: March '7, 2024

     
 
 

 

 

JILL L. EVERS
Not Seal
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[Notary seal] ) Howard County inclana
CK, Lp D My Commission Expires Mar 17, 2024
(ignaury CL
oF i L. Wes
(Printed) NOTARY PUBLIC

Complimentary Closing
Peck certifies, to the best of his knowledge, information, and belief, formed after an inquiry
reasonable under the circumstances, that this COMPLAINT is not presented for an improper
purpose, the claims and legal contentions are warranted by existing law, and the factual

contentions have evidentiary support. FRCP 11(b).

Respectfully submitted,

Norman Peck Plaintiff Date
P.O. Box'273

Kokomo, Indiana 46903

Telephone number: None

Facsimile number: None

Email address: legal_stuff@use.startmail.com

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Certificate of Service
Thereby certify my delivery of this original CompLAINT—which includes verification bya
notary public—by U.S. Mail (certification #70171070000059561571) to the clerk of this COURT.
Two additional copies of this 24-page COMPLAINT are also enclosed for the defendant and

myself. (See page 3, footnote 6, above.) Other filings (e.g., motions) are also attached.

han ff oerapen 5, 2048

Norman Pecké Plaintyét Date
P.O. Box 273

Kokomo, Indiana 46903

Telephone number: None

Facsimile number: None

Email address: legal_stuff@use.startmail.com

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